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                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    DECLARATION OF WENDY J.
                                                          OLSON IN SUPPORT OF MOTION
          v.                                              FOR LEAVE TO AMEND
                                                          COMPLAINT TO ADD PUNITIVE
 ASHLEY GUILLARD,                                         DAMAGES
                            Defendant.


         I, Wendy Olson, declare as follows:

               1. I am an attorney at Stoel Rives LLP and am counsel for Plaintiff Rebecca Scofield

    in the above-captioned action. I am over the age of 18 and am competent to testify to the

    matters set forth herein.

               2. Attached as Exhibit A is a true and correct copy of Defendant Ashley Guillard’s

    Responses to Plaintiff’s First Set of Interrogatories, Requests for Production of Documents,

    and Requests for Admission to Defendant Ashley Guillard.




DECLARATION OF WENDY J. OLSON IN SUPPORT OF MOTION FOR LEAVE TO
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              3. Attached as Exhibit B is a true and correct copy of a cease and desist letter I sent

    to Ms. Guillard on November 28, 2022.

              4. Attached as Exhibit C is a true and correct copy of a cease and desist letter I sent

    to Ms. Guillard on December 8, 2022.

              5. Attached as Exhibit D is a true and correct copy of a December 27, 2022, press

    release from the Moscow Police Department.

              6. Attached as Exhibit E is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 26, 2022, and saved under the file name F1026640.

              7. Attached as Exhibit F is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 28, 2022, and saved under the file name F1026586.

              8. Attached as Exhibit G is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 28, 2022, and saved under the file name F1026691.

              9.   Attached as Exhibit H is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 1, 2022, and saved under the file name F1026645.

              10. Attached as Exhibit I is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 2, 2022, and saved under the file name F1026633.

              11. Attached as Exhibit J is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 5, 2022, and saved under the file name F1026594.

              12. Attached as Exhibit K is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 5, 2022, and saved under the file name F1026600.

              13. Attached as Exhibit L is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 25, 2022, and saved under the file name F1026693.




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              14. Attached as Exhibit M is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 13, 2022, and saved under the file name F1026584.

              15. Attached as Exhibit N is a true and correct copy of a subpoena duces tecum

    served on the University of Idaho, as well as the response to the subpoena.

              16. Attached as Exhibit O is a true and correct copy of a screen shot of a TikTok post

    published by Ms. Guillard dated and showing the number of likes and shares.

              17. Attached as Exhibit P is a true and correct copy of a YouTube video posted in

    February 8, 2023, https://www.youtube.com/watch?v=uZ-fo4F-q9w, featuring Ms. Guillard

    provideing a detailed narrative of her sensational story about Professor Scofield having an

    affair with one of the murdered students and orchestrating the murder of the students.

              18. Attached as Exhibit Q is a true and correct copy of a YouTube video posted on

    June 8, 2023, https://www.youtube.com/watch?v=X4V769td-DQ, featuring an interview

    with Ms. Guillard on the online program “Nerd Report”.

              19. Attached as Exhibit R is a true and correct copy of a YouTube video posted on

    October 14, 2023, https://www.youtube.com/watch?v=z2lYBCoLTdo, in which Ms. Guillard

    stated that Professor Scofield committed the murders.

              20. Attached as Exhibit S is a true and correct copy of the University of Idaho’s

    response to subpoenas for documents in this case.

              21. Attached as Exhibit T is a true and correct copy of the Indictment in State v.

    Kohberger, CR 29-22-2805.

         I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.




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          DATED: January 12, 2024.

                                           STOEL RIVES LLP



                                           /s/ Wendy J. Olson
                                           Wendy J. Olson

                                           Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 12, 2024, I served a copy of the foregoing via CM/ECF on

the Registered Participant as follows:

         Ashley Guillard
         msashleyjt@gmail.com


                                              /s/ Wendy J. Olson
                                              Wendy J. Olson




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